     Case 1:15-cv-02213-ODE Document 7-1 Filed 08/03/15 Page 1 of 5




              SETTLEMENT RELEASE OF CLAIMS AGREEMENT


         This Settlement and Release of Claims Agreement ("Agrecment") is entered into
by and between Capital Restor¡tion, LLC, (the "Employer") on behalf of itscll its
subsidiaries and other corporate afliliates and each of their respective present and former
employees, offrcers, directors, o\À,ners, shareholders and agents, individually and in their
offrcial capacities including but not limited to Stephen Casey Clark ("Clark")
(collectively referred to herein as, the "Employer Group"), and Jesus Dlaz (the
"Employee") (the Employer and the Employee are collectively referred to herein as the
"Parties").

        WHEREAS, Employee has brought a lawsuit in the United States District Court
for the Northern District of Georgia, Civil Action File No.: I ;15-cv'2213 alleging that
Employer and Clark violated the Fair Labor Standards Act (the "Lawsuit");

       WHEREAS, Employer and Clark have denied every allegation of wrongdoing
contained in the Lawsuit;


       WHEREAS, the Parties desire to resolve the Action without further litigation or
adjudication;


        NOV/, THEREFORE. in consideration of the promises and obligations set forth
herein, the parties agree as follows:


l.      No Admission of Liability. Nothing herein shall be construed to be an admission
by Employer of any wrongdoing or noncompliance with any federal, state, city or local
rule, ordinance, constitution, statute, contfact, public policy, wage and hour law' wage
payment law, tort law, common law or of any other unlawful conduct, liability,
wrongdoing or breach of any duty whatsoever. Employer specifically disclaims and
denies any liability to Employee.

2,       Payment. In consideration for Employee's execution, non-revocation of, and
compliance with this Agreement, including the waiver and release of claims in paragraph
3, Employer agrees to provide Employee with the total settlement sum of $13,000 for and
in fi¡lfconsideration a¡rd satisfaction of all claims that Employee has or may have agaìnst
Employer, whether known or unknown, asserted ot unasserted, based on any conduct
occuning up to and including the date of the execution of this Agreement as follows:

       (a)    $4,300, less all relevant taxes and other withholdings representing alleged
wages owed to Employee; Employer shall issue aW-2 form to Employee with respect to
this payment;

                                                                                               EXHIBIT
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     Case 1:15-cv-02213-ODE Document 7-1 Filed 08/03/15 Page 2 of 5




        (b)     $4,300 representing alleged non-wage damages; Employer shall issue a
 Form 1099 to Employee with respect to this payment; and

        (c)     $4,400 in full satisfaction of all claims Employee may have for attomeys'
 fees and costs to be paid directly to Employee's attorney; Employer shall issue a Form
 1099 to Employee or Employee's counsel with respect to this payment.

        Employee agrees and acknowledges that Employer and its counsel have not made
any representations to him regarding the tax corsequences of any payments or amounts
received by him pursuant to this Agreement.


3.       Release of Claims. In exchange for the promises made by Employer in this
 Agreement, Employee and his heirs, executors, administrators and assigns (collectively
 the "Releasors") forever waive, release and discharge the Employer and Employer Group
 from any and all claims, demands, causes of actions, fees, damages,liabilities and
 exp€nses (inclusive of attomeys'fees) of any kind whatsoever, whether known or
 unknown, that Employee has ever had against the Employer and/or the Employer Group
 by reason of any actual or alleged act, omission, ttansaction, practice, conduct,
 occrürence or other matter up to and including the date of his execution of this
 Agreement, including, but not limited to (a) any claims under Title VII of the Civil Rights
 Act, as amended, the Americans with Disabilities Act, as amended, the Family and
 Medical Leave Act, as amended, the Equal Pay Act, as amended, the Employee
 Retirement Income Security Act, as amended (with respect to unvested benefits), the
 Civil Rights Act of 1991, as amended, Section l98l of U.S.C. Title 42,lhe Sa¡banes-
 Oxley Act o12002, as amended, the Worker Adjustment and Retraining Notification AcL
as amended, the Fair Labor Standards Act and/or any other Federal, state or local law
(statutory, regulatory or otherwise) that may be legally waived and released and (b) any
tort and/or contract claims, including any claims of wrongful discharge, defamation,
emotional distress, tortious interference with contract, invasion of privacy, nonphysical
injury, personal injury or sickness or any other harm. However, this general release of
claims excludes the fïling of an administrative charge or complaint with the Equal
Employment Opportunity Commission or other administrative agency, and participation
in an investigation or proceeding, although Employee waives any right to monetary relief
related to such a charge. This general release of claims also exsludes any elaims wìich
cannot be waived by law.

4.       rù/ithdrawal and Stipulation of Dismissal. Upon payment of the amounts set forth
in Paragmph 2 and approval ofthis Agreement by the Court as set forth in Paragraph 10,
the parties shall file a joint Stipulation of Dismissal with Prejudice of the claims alleged
by Employee in the Lawsuít.




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     Case 1:15-cv-02213-ODE Document 7-1 Filed 08/03/15 Page 3 of 5




5.      Attorneys' Fees and Costs. Except as specifÌed herein, Employer and Employee
shatl bear their own respective costs and fees, including attorneys' fees incurred in the
Action.

6.       Knowing and Voluntarv Acknowledgment. Employee specifically agrees and
acknowledges that: (a) Employee has read this Agreement in its entirety and understands
all of its terms; (b) Employee has been advised of and has availed himself of his right to
consult with his attomey prior to executing this Agreement; (c) Employee knowingly,
freely and voluntarily assents to all of its terms and conditions inoluding, without
limitation, the waiver, release and covenants contained herein; Employee is executing this
Agreement, including the waiver and release, in exchange for good and valuable
consideration in addition to anything of value to which he is otherwise entitled; and (d)
Employee is not waiving or releasing rights or claims that may arise after his execution of
this Agreement.

7.     Governing Law. This Agreement, for all purposes, shall be construed in
accordance with the laws of Georgia without regard to conflict-of-law principles.

8.     Entire Asreement. This Agreement contains all of the understandings and
representations between Employer and Employee relating to the subject matter herein and
supersedes all prior and contemporaneous understandings, discussions, agreements,
representations and warranties, both written and oral, with respect to such subject matter.

9,      Severabilit.v. Should any provision of this Agreement be held by a court of
competent jurisdiction to be enforceable only if modifred, or if any portion of this
Agreement shall be held as unenforceable and thus stricken, such holding shall not afÏect
the validity of the remainder of this Agreement, the balance of which shall continue to be
binding upon the Parties with any such modification to become a part hereof and treated
as though   originally set forth in this Agreement.

10,    Approval By Court. The parties specilically acknowledge that the Fair Labor
Standa¡ds Act requires this Agreement to be approved by the Court. As such, this
Agreement does not become effective or enforceable unless and until it is approved by
the Court. The parties agree to file a Joint Motion seeking such approval.




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    Case 1:15-cv-02213-ODE Document 7-1 Filed 08/03/15 Page 4 of 5




EMPLOYEE ACKNOWLEDGES A}ID AGREES THAT HE HAS FULLY READ,
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EMPLOYEE ACKNOWLEDGES AND AGREES T}IAT HE HAS HAD AN
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RELEASE EMPLOYER GROUP FROM ANY A}ID ALL CLAIMS.


                                      Capital Restoration LLC




   JESUS   DIAZ


Date:                             Name:        5
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                                  Date         s/t




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  Case 1:15-cv-02213-ODE Document 7-1 Filed 08/03/15 Page 5 of 5




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                                 Capital Restoration LLC




          DIAZ


Date:   K-3' (5                  Name:

                                 Title:




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